Case 4:07-cv-05944-JST Document 1936 Filed 09/16/13 Page 1 of 1

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YAGHO IdIMOSNVYL

(ETOT/2 “A8Y GNVO)
Sev GNVD

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